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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 11-22177-CIV-DIMITROULEAS/SNOW

  MICHAEL GOLDBERG, et al.,

         Plaintiffs,

  vs.

  D&E COMMUNICATIONS, INC., et al.,

        Defendants.
  _____________________________________/

                                    ORDER TO SHOW CAUSE

         THIS CAUSE is before the Court upon Plaintiff Michelle Blum’s Motion for Class

  Certification [DE 73], filed July 20, 2012. The Court has carefully considered the Motion and is

  otherwise fully advised in the premises. As of the date of this Order, the Defendants have not

  filed a response and the time for such filing has passed. See S.D. Fla. L.R. 7.1(c)(1).

         Accordingly, it is ORDERED AND ADJUDGED that Defendants shall show cause on

  or before August 17, 2012, why Plaintiff Michelle Blum’s Motion for Class Certification [DE

  73] should not be granted by default or without the benefit of Defendants’ arguments. The

  failure to file a timely response may result in the imposition of sanctions, including but not

  limited to granting the Motion.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  10th day of August, 2012.
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  Copies furnished to:
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